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                                   14099


                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT LEXINGTON

                                       )
                                       )                    MDL NO. 1877
                                       )
                                       )                MASTER FILE
IN RE CLASSICSTAR MARE                 )   CIVIL ACTION NO. 5:07-CV-353-JMH
LEASE LITIGATION                       )
                                       )
                                       )
                                       )   5:06-CV-00243-JMH     WEST HILLS FARMS
                                       )


                  MR. PARROTT’S MOTION TO ALTER OR AMEND
                           THE COURT’S JUDGMENT

       Defendant John W. Parrott (“Mr. Parrott”), by counsel, moves the Court, pursuant to

Federal Rule of Civil Procedure 59(e), to alter or amend the Judgment dated October 11, 2011

and the Amended Judgment dated November 8, 2011 for the reasons given by Defendants

GeoStar Corporation, Tony Ferguson, Thomas Robinson (“GeoStar Defendants”) in the motion

they filed on November 8, 2011 to alter or amend the Court’s Judgment and Amended Judgment

(DE 2352). Mr. Parrott fully adopts the arguments made by the GeoStar Defendants in their

motion, memorandum in support and proposed Amended Judgment.

       A proposed order granting this motion is tendered.
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                                   14100




                                                     Respectfully Submitted,


                                                     /s/ Culver V. Halliday_________
                                                     Lea Pauley Goff
                                                     Culver V. Halliday
                                                     Angela S. Fetcher
                                                     Stoll Keenon Ogden PLLC
                                                     2000 PNC Plaza
                                                     500 West Jefferson Street
                                                     Louisville, Kentucky 40202
                                                     Telephone: (502) 333-6000
                                                     Facsimile: (502) 333-6099

                                                     Attorneys for Defendant
                                                     John W. Parrott

November 8, 2011

                               CERTIFICATE OF SERVICE

        I certify that, on November 8, 2011, I served Mr. Parrott’s Motion to Alter or Amend the
Court’s Judgment and [Proposed] Order Granting Mr. Parrott’s Motion to Alter or Amend the
Court’s Judgment, by delivering copies (1) electronically through the Court’s CM/ECF system to
those parties and representatives of parties required to be served registered to use the Court’s
CM/ECF system, and (2) by United States mail, first class postage prepaid, to the following
parties and representatives of parties not registered to use the Court’s CM/ECF system:

Elizabeth Holt                                     Robert Holt
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Centennial, Colorado 80112                         Centennial, Colorado 80112

National Equine Lending Company, LLC               Gary L. Thornhill
New NEL, LLC                                       2880 Lakeside Dr
c/o Terry Green                                    Suite 112
563 W 500 S                                        Santa Clara, California 95054
Suite 230
Bountiful, Utah 84010

Thomas Williams                                    S. David Plummer
90 Baker Lane                                      1790 FM 2871
Erie, Colorado 80516-9064                          Fort Worth, Texas 76126




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                                   14101


Strategic Opportunity Solutions, LLC           Viking Real Estate, L.C.
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                                                 /s/ Culver V. Halliday_________
                                                 Attorney for Defendant
                                                 John W. Parrott


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